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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                            §
                                  §
ERIN ENERGY CORPORATION, et al.,1 §         Case No. 18-32106
                                  §
     Debtors.                     §         Chapter 11
                                  §
                                  §
                ORDER PURSUANT TO 11 U.S.C. §365(a)
        AUTHORIZING REJECTION OF RENTAL AGREEMENT WITH
                 FOUR OAKS PLACE OPERATING LP

         The Court, having considered Debtor’s Motion for Order Pursuant to 11 U.S.C. § 365

Authorizing Rejection of Rental Agreement with Four Oaks Place Operating LP (the “Motion”),

and the responses to same, if any, hereby finds that the Court has jurisdiction over this matter

pursuant to 28 U.S.C. § 1334 and 157, and further finds that the statutory predicate for the relief

requested in the Motion is 11 U.S.C. § 365(a). All parties-in-interest were provided adequate

notice and opportunity for hearing. It is hereby,

         ORDERED that:

         The Rental Agreement, evidenced by the Office Lease and Amendment attached to

Debtors’ Motion as Exhibit A, is hereby rejected and terminated effective April 25, 2018.

         DATED: ______________, 2018

                                                                        ___________________________
                                                                         Honorable Marvin Isgur
                                                                         United States Bankruptcy Judge




1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.
